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     Telephone: (916) 554-2932
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )    CASE NO. 2:11-cr-00096-JAM
                                           )
12                      Plaintiff,         )    STIPULATION AND ORDER
                                           )
13   v.                                    )    DATE: September 4, 2012
                                           )    TIME: 9:45 a.m.
14   ORLANDO FLETES-LOPEZ,                 )    COURT: Hon. John A. Mendez
                                           )
15                      Defendant.         )
                                           )
16                                         )
                                           )
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18        IT IS HEREBY STIPULATED by and between the parties hereto
19   through their respective counsel, Michael Beckwith and Paul Hemesath,
20   Assistant United States Attorneys, attorneys for plaintiff, and Tim
21   Pori, attorney for defendant Orlando Fletes-Lopez that the
22   previously-noticed hearing date of September 4, 2012, be vacated and
23   the matter re-scheduled for November 13, 2012, at 9:45 a.m.           The
24   parties further request that the Court order the government’s
25   response be due on October 16, 2012, and the defendant’s reply, if
26   any, be due on October 30, 2012.
27        This request is made jointly by the government and defense.
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 1   Dated: August 16, 2012                  /s/ Paul Hemesath
                                             Paul Hemesath
 2                                           Assistant United States Attorney
                                             Counsel for Plaintiff
 3
 4   Dated: August 16, 2012                  /s/ Tim Pori
                                             TIM PORI
 5                                           Attorney for Defendant
                                             ORLANDO FLETES-LOPEZ
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10                                     O R D E R
11        Having received, read, and considered the stipulation of the
12   parties, and good cause appearing therefrom, the Court orders that
13   the hearing currently noticed for September 4, 2012, shall be re-
14   scheduled for November 13, 2012.      It is further ordered that the
15   governments response to defendant’s motion shall be filed no later
16   than October 16, 2012, and defendant’s reply, if any, shall be filed
17   no later than October 30, 2012.
18
     Dated: August 16, 2012
19
                                             /s/ John A. Mendez
20                                           Hon. John A. Mendez
                                             United States District Court Judge
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